Case 1:20-cv-22133-JEM Document 23 Entered on FLSD Docket 06/29/2020 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                          MIAMI DIVISION

                             CASE NO.: 1:20-cv-22133-MARTINEZ


  RYAN MAUNES MAGLANA
  and        FRANCIS           KARL
  BUGAYONG on their own behalf
  and as a class representatives of all
  other similarly situated Filipino
  crewmembers      trapped      aboard
  CELEBRITY cruise vessels,

          Plaintiffs,
                                                             CLASS ACTION &
  v                                                            DEMAND FOR
                                                               JURY TRIAL
  CELEBRITY CRUISES INC.,

        Defendant.
  ______________________________/

  PLAINTIFFS’ NOTICE OF WITHDRAWING MOTION [D.E. 6 & 6-2] IN LIGHT OF
   FORTHCOMING AMENDED MOTION BASED ON AMENDED COMPLAINT

          Plaintiffs, RYAN MAUNES MAGLANA and KARL FRANCIS BUGAYONG, on

  their own behalf and on behalf of all other similarly situated Filipino crewmembers

  trapped onboard CELEBRITY cruise vessels (hereinafter “PLAINTIFFS”), through

  undersigned counsel, give notice that they withdraw their original Motion for

  Preliminary Injunction & proposed order [D.E. 6 & 6-2] in light of their Amended

  Complaint. Plaintiffs amended motion will be submitted forthwith.

  Dated:         June 29, 2020
                 Miami, Florida



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                                                           M A GLA NA V. C ELEBRI TY C RUIS E IN C .
                                                                    C ASE N O .: 1:20-cv-22133-JEM

                                     BY:    ________________________
                                            R AUL G. DELGADO II, ESQ.
                                            Florida Bar No. 094004


                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 29, 2020 I electronically filed this document using the

  Court’s CM/ECF system, which will automatically serve a copy on all counsel of record in the

  service list included below..


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                                                         M A GLA NA V. C ELEBRI TY C RUIS E IN C .
                                                                  C ASE N O .: 1:20-cv-22133-JEM

                                       SERVICE LIST

                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 20-22133-CIV-MARTINEZ

  Plaintiffs RYAN MAUNES MAGLANA and FRANCIS KARL BUGAYONG, on their
      own behalf and as class representatives for all other similarly situated Filipino
                crewmembers trapped aboard CELEBRITY cruise vessels,

                                             v.

                         Defendant, CELEBRITY CRUISES INC.

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